Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 1 of 17

UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF FLORIDA

CIVIL DIVISION
Case No. ~ Civ

Jese Antonio Carabalio
and
isabella Raquel Jorge,
Plaintiff.
VS.
United States Postal Service, United States of America.

Defendant.

 

COMPLAINT

Comes now Plaintiffs, Jose Antonio Caraballo and Isabella

Raquel Jorge, by and through his undersigned attorney, and sue

Defendant, United States Postal Service, United States of

America, and for cause of action allege and aver as follows:

STATEMENT OF FACTS

i. This is an action for motor vehicle negligence and
bodily injury negligence cognizable under the Federal Tort

Claims Act, 28 U.S.C. §1346(b) (1). The amount in controversy

exceeds $75,000.00, exclusive of costs, interest, and attorney's

fees.
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 2 of 17

Jase Antonio Carabaliao v. United Stakes of America
Complaint

2 Trato oon er about Februar. 3 ZOUB rore than six
af f f
months before this action was instituted and Within the

 

applicabie statute of witation dmposed by 28 ULS.C. 8240),
Plaintiff’, Jose Antonio Caraballo operated the 2016 Toyota that
was owned by Plaintiff Isabella Raquel Jorge at or near the
intersection of State Road 817 and NW. 5S* St. in Plantation,
Broward County, Florida. Plaintiff Jose Antonio Caraballo was
traveling north on State Road 817 approaching SW. 5th St. in
Plantation when a truck rented by the Defendant United States
Postal Service, United States of America (“USPS”) operated by
Cullen Felder, who at the time was in the scope and course of
his employment with the Defendant negligently crashed into the

vehicle driven by Plaintiff Jose Antonio Caraballo.

3. Plaintiff Isabella Raquel Jorge 2016 Toyota suffered

was severely damaged as a result of the automobile accident.

4. Plaintiff, Jose Antonio Caraballo, sustained multiple

bodily injuries.

a. Plaintiff, Jose Antonio Caraballo, submitted an
administrative claim to USPS on October 29, 2018 by certified

mail. See Administrative Claim, attached hereto as Exhibit A.
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 3 of 17

Jase Antonio Caraballo v. United States of America
Comptaint

&, Plaintiff, Tsabella Raquel Jorge, submitted an
administrative claim to USPS on October 29, 2018 by certified

mail, See Administrative Claim, attached hereto as Exhibit B.

7. On January 15, 2020, Defendant denied Plaintiffs’

claims.

8, Defendant USPS is an agency of Defendant United States
of America engaged in the service of dealing and collecting mail
throughout the United States of America, including and Miami,

Miami-Dade County, Florida.

JURISDICTION & VENUE

 

9. This Court has jurisdiction over this claim against
the United States of America for money damages pursuant to 28
U.S.C. § 1346{6) (1); as the damages complained by the Plaintiffs
2n this case arise from a motor vehicle accident, caused by an
employee working for the Defendant, specifically, an employee of

the Defendant.

10. The acts or omissions giving rise to the claim
occurred in Broward County, Florida. Venue is therefore proper

in the Southern District of Florida under U.S.C. 8 1402 tb).

PARTIES
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 4 of 17

Jose Antonio Caraballo v. United States of America
Complaint

Ly At all times material to this action, Plaintiffs were
and continue to be, residents of Miami-Dade County, Florida.

12. At ali times material hereto, Defendant, is a federal
entity that was created by the Congress of the United States,
which primary purpose is the delivery of mail in the United
ptates, including but net jimited toa Miami, Dade County,

Florida.

DEFENDANT’ S NEGLIGENCE

13. Plaintiff incorporates paragraphs 1-11 of this

Complaint as if fully set forth herein.

14. On or about February 3, 2018, at or near North S.R.
8l7 and N.W. St St., the Defendant, operated a USPS Freight
Truck, bearing VIN Number 3AKJGEDVXFSGA1535, which was used by

Defendant.

15. Defendant has in its employ and/or agency various
employees, over which it exercised control and supervision. At
ali times material to this action, Defendant authorized these
agents and employees to act for Defendant when they committed
the negligent and wrongful acts alleged herein. Defendant’s

agents and employees accepted the undertaking of acting on
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 5 of 17

Jose Antonio Carabalio v. United States of America
Complaint

behalf of Defendant when they committed the negligent and

wrongful acts alleged herein.

16. Defendant had control over its agents and employees
when they committed the negligent and wrongful acts alleged

herein.

l?. The negligent and wrongful act of Defendant's agent
and employee was committed while acting within the course and
scope of their employ and/or agency with Defendant. ‘Thus,
Defendant is liable for the actions of its agents and employees

when they committed the negligent acts alleged herein.

i8. At the aforesaid time and place, the Defendant,
negligently and carelessly operated and/or maintained said motor
vehicle so that it violently collided with Plaintiff, Jose
Antonio Caraballo, causing bodily injury to Plaintiff, Jose
Antonio Caraballo, and damage to Plaintiff Isabella Raguel

Jorge’s 2016 Toyota.

i939. As a direct and proximate result of the aforesaid
negligence of the Defendant, the Plaintiff, Jose Antonio
Carabalio, suffered bodily injury and resulting pain and
suffering, disability, disfigurement, mental anguish, loss of

capacity for the enjoyment of life, expense of hospitalization,

2
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 6 of 17

Jase Antonio Caraballo v. United States of America
Congo laant

medical and nursing care and treatment and iloss of earning
capacity, both present and future. The losses are either
permanent or continuing and the Plaintiff Joseph Martinez, will

suffer said losses in the future.

20. Plaintiff Isabella Raquel Jorge’s 2016 Toyota was
totaled as a result of Defendant’s negligence and she suffered
from the actual cash value of her leased vehicle, interest, tax

tag and title as well as loss of use of a vehicle.

PRAYER FOR RELIEF

 

21. Plaintiff, Isabella Raquel Jorge and Plaintiff, Jose
Antonio Caraballo seek a judgment against Defendant for damages
to be determined at trial or via a summary judgment motion, and
for all other further relief as the Court may deem just and

equitable.

WHEREFORE, Plaintiffs’ demand judgment against the
Defendant for an amount within the jurisdictional limits of this
Court, to wit: in excess of $75,000.00 plus court costs and
attorney's fees and any other damages the Court deems
appropriate. Piaintiffs’ additionally demand for a trial by

jury as to all triable issues in this matter.

Dated: January 31, 2020 Respectfully submitted,
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 7 of 17

dose Antonio

Complaint’

Caraballo v. United States of America

George A. David,
395 Alhambra
Suite..301 Coral
PL © 33934

(305) p69 9980 -
(305) 5659982 ~

By: |

PLA.
Circle,
Gables,

phone
fax

 

Georgé A. David, Esq.

Flox¥daVBar\No.:

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874700
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 8 of 17

Exhibit “A”
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 9 of 17

GEORGE A. DAVID, PA

ATTORNEYS AT LAW

 

395 ALJTAMBRA CIR, SUITE 301
CORAL GABLES, PL 3354

PELIEP HONE: (309) 469-9940 FACSIMILE: (205) 569. 9082

Oclober 29, 2018

Sent Via Certified Mail

Receipt No: 7014 2120 0003 5198 7554
USPS

ATTN: Michelle Browder

PO Box 6127

Fut. Lauderdale, FL, 33310

Re: Claimant : Jose Antonio Caraballoe
Date of Loss : 2/3/2018
USPS’ s driver : Cullen Cecil Felder

Dear Claim Representative:

Please be advised that this office represents Jose
Antonio Caraballo in all aspects regarding the above
referenced claim. This letter serves as Demand against the
USPS for the damages incurred by Jose Antonio Carabalio from
the accident with the USPS driver Cullen Cecil Felder on
February 3, 2018.

This letter is in response to your letter sent on
September 26, 2018 requesting the Standard Form 95, Claim for
Damage, Injury or Death to present an administrative tort
claim with United States Postal Service pursuant to the
provisions of the Federal Tort Claims act conforming with
Title 28, United States Code 1346, 2671-2680 and Title 28,
Code of Federal Regulations, Part 14. The SF 95 form enclosed
states in specificity, sufficient facts to allow the USPS to
investigate its liability and a sum amount of injuries and
damages caused by the accident on February 3, 2018. Enclosed
you will find supporting documentation including the police
report. in reference to the above referred accident, copies
Jose Antonio's medical records, medical bills, photographs of
the incident, the vehicle damage reports, and any additional
bills associated with the referenced incident.
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 10 of 17

 

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Agency within twa yoars

 

 

Phe:
Trust Aceount. LF you have any Further questions concerning
this matter, please do non hesitale to contact me ato your

make Checks payable la George A.

 

GSaridesbk convenience.

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assistance in regard to the anove.

 

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Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 11 of 17

 

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CLAN FOR DAMAGE,
INJURY, OR DEATH

  
 
 
 

  

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United Slates Postal Service Jarge Antonio Caraballo Rodriguez, 16900 N. Bay ee. Apt.
812, Sunny [sl Beh, FL. 33160

George A. Bavid, Esq., 385 Alhambra Cir, Suite 304, Coral
Gables, FE 33134

 

 

 

se GF EMPLOYMENT 4. DATE GF BIRTH Us. MARITAL STATUS 5. DATE AND DAY OF ACCIDENT PUIME(AM OR PM)
[Junnary fx] omman 93/26/1983 ising 02/03/2018 8:17 AM.

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the Cause tientrofl Use audditonat pages f necessany}.

 

On 02/02/18 Jose Antonio Caraballo Rodriguez was traveling north on SR 817 St(N University Or) to his home in Sunvise, FL.
He was driving in far right lane and USPS was traveling in front of him in the middle lane. The USPS truck attempted to make a
ueturn and while slowing down to make the turn the trucks irailer entered Mr. Caraballo's lane and struck his vehicle on the front
drivers side, The impact was strong enough that Mr. Caraballo struck his face on the steering wheel and lost censsicusness. Mr.
Cabalio was trapped in ihe crushed car. Mr. Garaballo suffered a fractured nose and severe wound on his tongue,

 

 

 

a, PROPERTY DAMAGE

 

NAME AND AGHRESS OF GWAR EP OTE THAN CLARVANT (Number Steet, iby State. and Zip Cade)

isabelia Raquel Jorge, 16900 N. Bay Rd., Apt.912, Sunny isl Bch, FI 33760

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY GE INSPECTED.

{See instructions on raverse side).

2016 Toyora Corolla VIN: SBURHE?GE374459 Located: Euro American Classic 3501 NW 29th Avenue Miami, FL 33142
Vehicle is a tolal foss. Vehicle is above threshold and is risk to be put back on road,

 

   

 

10. PERSONAL INJURY/WRONGPUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CALISE OF DEATH. WHICH FORMS THE BASIS OF THE CLAIM. He OTHER THAN CLAIMANT. STATE THE NAME
OFTHE INJURED PERSON OR CACEDENT.

 

During the accident, Mr Caraballe injured his tongue requiring seven stitches. He fractured his nose requiring re-constructive
surgery. His medical examination states that “in the best case scenario, the patient will have permanent scarring, deformity, and
disfigurement which is causally related to trauma of the aforementioned date." He is currently suffering from intense and
frequent headaches. The deformity ta his nose has affected his breathing and preventing him from sleeping efficiently at night.

 

 

 

 

 

 

Ve WITNESSES
NAME, ADORESS (umber, Streat, Gay, State, and Zip Code}
Chris Fishey 770 SW 60th Ave, Plantation Fi 33347
72. (See instructions en reverse}. AMOUNT OF GLAIM Gn dollars)
1aa. PROPERTY DAMAGE 12k. PERSONAL INJURY tec. WRONGFUL DEATH q2d. TOTAL (Failure to specify may case
forfailuce of your rights).
0.00 ; 7 is 00,000 0.60 4,000,000

 

 

 

 

LGERTIFY THAT THE AMOUNT ¢ OF CLAIMGOVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT iN
FULL SATISFACTION AND FINAL. SE TTBERENT OF THIS CLAIM,

 

 

 

 

 

 

 

iSa, SIGNATURE OF CLAD ANT (See Fonbgics on reverse side). Jab. PHONE NUMBER OF PERSON SIGRING FORM [t4. DATE OF SIANATURE
% ¥, % \
y a
. 305-569-9980
etvil PENALYY bn Ps PRESENTING CRIMINAL PENALTY FOR PRESENTING PRAUDULENT

« @FRAUDULENT CLAIR CLAIM GR MAKING FALSE STATEMENTS
The claimant is tiatia to tie United States Goverment for 4 clvi penalty of not tess than Fine, lmprisanmant, or bot. (See 14 U.S.0. 287, 1964.)
$5,090 and sot more thas $74,000, plus 3 times the amount of damages sustained
by tha Government. (See 37 U.8.C. 3729).

 

 

Authorized for Local Reproductian NSH 7540-00-634-4046 STANDARD FORBE 95 (REV. 2/2007}
Previous Edition ts nol Usable ORE SCRIBED BY DEPT, OF MUSTICE
§5-109 2B CER 14.2

 
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 12 of 17

 

INSURANCE COVERAGE

 

in order that subrogation claims may be adiudicaled, itis essential that the claimant provide the following information re arding the insurance coverage of the vehicle or propery.
gq ¥ f } 9 y

 

15, Bo you catry accident insurance? 1 Yes
2)

Infinity Aute Insurance Company
P.O. Box 830807

Birmingham, AL 35283-0807

Ilyes, give name and address of insurance company (Number, Street, City, State, and Zip Code} and policy number, [i No

 

46. Have you filed @ claim with your insurance carrier in this instance, and # sa, is it full coverage or decuotlble?

17. If deductible, state amount.

0.50

 

 

16. Ifa claim has been tiled with your caries, what action has your insurer taken or proposed to take with reference te your claim? (# is necessary thal you ascertain these facts).
The vehicle involved does not carry comprehensive and collision coverage.

 

infinity Auto Insurance Company
P.O, Box 830807
Birmingham, AL 35283-0807

19, De you carry public liability and property damage insurance? ix! Yes If yes, give name end address of insurance carrier (Number, Street, City, State, and Zip Code}. Cj No

 

claim form.

4 CLAIM SINALL BE DEEMED TO HAVE BEEN PRESENTED WHEN 4 FEDERAL
AGENGY RECEIVES FROM A CLAIMANT, HIS BULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARO FORM 85 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Failure te completely execute this torr or to supply the requested material within
two years from the date the claim accrued may render your claim invaltd. A clalm
is deemed presented whan it is received by the appropriate agency, not wher it is
mailed,

if instruction is neaded in completing this form, the agency listed in item: #7 on the reverse
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Tide 28, Code ot Federal Regulations, Part 14.
Many agencies have published supplementing regulatians. {f more than one agency is
invalved, please stute each agency.

The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory te {he Government is submitted with the claim establishing express
authority ta act for the claimant. A clalm presented by an agent or legal representative
Must be presented in the name of the claimant. If the claim is signed by the agent oc
jegel representative, It must show the tite orfegal capacity of the person signitig ang be
accompanied by evidence of his/her authority to present 4 claim on behalf of the clairnant
as agent, execitor, administrator, parent, guardian or other representative.

If claimant intands {0 file for both personal injury and property damage. the amount for
each must be shawn in item famber 12 of this form,

INSTRUCTIONS

Clalms presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s) was involved in the incident. ff the incident Involves more than one claimant, each claimant should submit a separate

Complete all iterns - Insert the word NONE where applicable.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON Of THE INCIDENT.
THE CLAIM MUST 8E PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIA
TWO YEARS AFTER THE CLAIM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

fa) In support of the claim for personal injury or death, the daimant should submit a
written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disabilily, #f any, the prognosis,
and the period of hospitalization, or incapacitation, attaching itemized bills far medical,
hospital, or burial expenses actually incurred.

(i) In support of claims for damage to property, which has been or can be economicaty
repaired, the claimant should syhmit at least two itemized signed siatamients or estimates
by reliable, disinterested concerns, or, if payment has been made, the temized signed
receéipis avidencing payment.

fe} in support of clains for damage ta property which is not economically repairable, or if
the property Is lost or destroyed, the claimant shouid submit statements as to the original
cost of the property, he date of purchase, and the value of he property, both before and
after the accident, Such statements should be by disinterested competent persons,
preferably reputable dealers or officials familiar wilh the type of praperty damaged, or by
two or more competitive bidders, and should be cenified as being just and correct.

() Failure to specify 2 sum certain will render your calm layalid and may result in
forfeiture of your rights.

 

This Notice is provided in accordance with the Privacy Act, § U.S.C. $52a(e)(3), and
concerns the information requested in the letter to which this Notice is allached.
A Authonty: The requested information is solicited pursuant to one or more of the
following: 5 U.S.C. 304, 28 U.S, $01 et seq., 28 U.S.C, 2671 et seq., 28 C.F.
Par 14,

 

PRIVACY ACT NOTICE

B. Principal Purpose: The information requested is to be used in evaluating claims.

C. Routine Use: See the Notices of Systems of Records for the agency to wham you are
submitting this form for this infarmation.

D. Effect of Failure to Respond: Disclosure is voluntary, Howevet, failute to supply the
requested information or to exeeute the form may render your Gaim “invatia."

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpese of the Paperwork Reduction Act, 44 U.8.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and campleting and reviewing the collection of

information, Send comments regarding this burden estimate of any other aspect of this collcetion of informatian, Including suggestions for reducing this burden, to the Director, forts
Branch. Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washingtan, OC 20930 or to the Cttice af Management and Budget, Do not mail completed
form(5) to these addresses.

 

 

STANDARD FORM 95 REV. (2/2007) BACK

 
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 13 of 17

Exhibit “B”
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 14 of 17

GEORGE A. DAVID, PA

ATTORNEYS AT LAW

 

305 ALIAMBRA CAR. SUITT 30H
CORAL GABLES, FL. 33134
GUM SESERY TOR@OMAIL.COM
TELEPHONE: GOS) $69-9980 FACSIMILE: BOS! $69-9982

October 29, 2018

Sent Via Certified Mail

Receipt No: 7014 2120 0003 5198 7561
USPS

ATTN: Michelle Browder

PO Box 6127

Fe. Lauderdale, FL, 33316

Re: Claimant : Isabella Raquel Jorge
Date of Loss : 2/3/2018
USPS’s driver : Cullen Cecil Felder

Dear Claim Representative:

Please be advised that this office represents Isabella
Raquel Jorge in all aspects regarding the above referenced
claim. This letter serves as Demand against the USPS for the
damages incurred by Isabella Raquel Jorge from the accident
with the USPS driver Cullen Cecil Felder on February 3, 2018.

This letter is in response to your letter sent on
September 26, 2018 requesting the Standard Form 95, Claim for
Damage, Injury or Death to present an administrative tort
¢laim with United States Postal Service pursuant to the
provisions of the Federal Tort Claims act conforming with
Title 28, United States Code 1346, 2671-2680 and Title 28,
Code of Federal Regulations, Part 14. The SF 95 form enclosed
States in specificity, sufficient facts to allow the USPS to
investigate its iiability and a sum amount of injuries and
damages caused by the accident on February 3, 2018. Enclosed
you will find supporting documentation including the police
report in reference to the above referred accident,
photographs of the incident, the vehicle damage reports, and
any additional bills associated with the referenced incident.

Piease consider this letter as our demand pursuant to 28
U.S.C 2401{(b), that a tort claim against the United States
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 15 of 17

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AGGNCY Within Lwo yeu

 

   

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Further questions cornee radi

   

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Thank yong Pox your  ablicipated conperation and
Lethanee in regard to the above,

 

 

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Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 16 of 17

 

CLAIM FOR DAMAGE, INSTRUCTIONS: Please road carefully die instructions un tie ORM APPR ED

INJURY. OR GEATH | teverse side and sigiply infurmatien requosted on both sides of Wis OME WO. 1 1O8-100%
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additional pisiructions,

   
     
   

11. Subnin te Appropaate Peder Agency spresentative fany
Se Heel Cry, State and Zin coda.
United States Postal Service Isabella Raquel Jorge, 16900 N. Bay Rad, Apt. 912, Sunny

Ist Bch, FL 33460
Gearge A. David, Esq., 395 Alnambra Cir, Suite 304, Coral

Gables, Fl

  

   
 
 
  

 

 

 

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B. BASIS OF CLAIM
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On 02/02/18 Jose Antonio Caraballo Rodriguez was traveling north on SR 817 St (N University D4 to his home in Sunrise, FL.
Ne was driving in far right lane and USPS was traveling in front of him in the middle lane. The USPS truck attempted to make a
Leturn and while slowing down to make the turn the trucks trailer enfered Mr. Caraballo's lane and struck his vehicle on the frant
drivers side, The impact was strong enough that Mr. Carabatio struck his face on the steering wheel and Jost consciousness. Mr.
caballo was trapped in the crushed car. Me. Caraballo suffered a fractured nose and severe wound on his tongue.

8. PROF
NAME ANTI ADDRESS OF OWNER. IF OTHER THAN CLAIMANT Glumher, Steal, Gay, Slate, and Jagr nde}

 

RTY DAMAGE

 

 

isabella Raquel Jorge, 16900 N. Bay Rd., Apt.912, Sunny tsi Bch, FE 33160

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY RE INSPECTED,

(See instructions on reverse side),

2016 Teyora Corolla VIN: SBURHE7GP374459 Located: Euro American Classic 3501 NW 29th Avenue Miami, FL 33142
Vehicle ts a fofal loss. Vehicle is above threshold and is risk to be put back on road.

 

 

 

40, PERSONAL INJURYAVRONGFUL DEATH
GTATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. FF OTHER THAN CLARMANT, STATE THE NAME,

 
 

OF THEIAJURED PRASCN OR DEG NT.

 

 

 

 

 

 

14, WITNESSES
NAME ADDRESS (Number, Street, Gily, Stale, and Zip Code)

Chris Fishey 770 SW bth Ave, Plantation FL 33217
12, (See instructians an reverse), AMOUNT OF CLAIM Un dollars}
12a, PROPERTY DAMAGE Tab, PERSONAL INJURY tac. WRONGILUL, DEATH iad, TOTAL (Failure to specify may cause

forfeiliee af your dghts),
Ps,

18,000.06 0.00 18,000.00

 

 

 

 

 

 

    

 

 

 

 

CERTIFY Hal THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CALISED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
PULLISATISFA\ TION AND FINAL SETTLEMENT OF THIS CLAIN,
po) fa es

1a. SIGNA ELE FOF ELAIMANT (See instructions on reverse side), 13b. PHONE NUMBER OF PERSON SIGRING FORM 114. DATE OF SIGNATURE

, PBA

‘ | 305-569-8880

4 ¥ ; t + CALL PENALTY FOR PREGENTING CRIMINAL PENALTY FOR PRESENTING PRAUDULENT
\ i FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS

The claimans is liahle to the United Slates Government far a civd penalty of not less than Fing, inprinonment, of both. (bee 18 5.0. 287, 1607.)
$5.000 and not mare han $16,000, plus 3 lines the amount of damages sustained
by the Gavernment. (See 34 U.6.0. 3729).

 

 

NSN 7540-00-634-4046 STANDARD FORM 96 (REV. 2/2007)
PRESCRIBED BY DEPT. OF JUSTICE
28 CER 14,2

Authorized for Local Repraduction
Previous Edilion is not Useble

98-109
Case 1:20-cv-20447-XXXX Document 1 Entered on FLSD Docket 01/31/2020 Page 17 of 17

 

INSURANCE COVERAGE

in order that subrogation claims may be adjudicated, it is assentis? that the claimant provide the following information regarding the insurance coverage of the vehicle or property,

 

Infinity Auto insurance Company
P.O. Box 830807
Birmingham, AL 35283-0807

H yes, give name and addres of insurance Gompany (Number, Steel, City, State, and Zip Code) and poticy number. | Wo

 

16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?

[J yes ix]

17. ff decuctibte, state amount.

0.00

 

 

16. # a claim has been fied with your carrier, what action has your insurer taker or proposed to take with reference 4o your claim? (iL is necessary that you ascertain these facts).
The vehicle invalved does not carry comprehensive and collision coverage.

 

Infinity Auto Insurance Company
P.O, Box 830807
Birmingham, AL 35283-0807

 

claim form.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Failure to completely execute this form or to supply the raquested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when itis received by the appropriate agency, not when It ig
mailed,

{f instrsction is needed in completing this farm, the agency listed in item #1 on the reverse
side may be contacted. Complete regulations pertaining to claims asserted under the
Federai Tort Claims Act can be found in Tile 28, Code of Fedoral Ragutations, Part 14,
Many agencies have published supplementing regufalions. If more than one agency is
involved, please state cack agency.

Tae cain may be filled by a duty authorized agent or other legal representalive, provided
evidence sulisfactory to the Government Is submitted with the claim establishing express
authority to act for the claimant, A claim presented by an agent or legal representative
must be presented in the name of the claimant. # the claim is signed by the agent or
legal representative, it must show the title or [egal capacity of the person signing and be
accompanied by evidence of hisher authority to present a claim on behalf of the caimant
as agent, executor, administrater, parent, guardian or olher representative.

Ki claimant intends to fe far both personal injury and property damage. the amount for
each must be shown in tem number 12 of this fonn,

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s} was involved in the incident. if the incident involves more than one claimant, each claimant should submit a separate

Complete all items - Insert the word NONE where applicabie.

DAMAGES IN A SUM.CERTAIN FOR INJURY TG OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES,

The amount claimed shovld be substantiated by competent evidence as follows:

fa) in support of the claim for personel injury or death, the daimant should submit a
written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
anc the period of hospitalization, or incapacitation, attaching itemized bills for medical,
hospital, of burial expanses actually incurred,

(0) in support of cdaims for damage to property, which has been or can be ecanorically
rapalred, the Claimant should submit at feast two ttemized signed stataments oy estimates
by relia&le, disinterested concerns, or, if payment has been made, the iternized signed
receipts evidencing payment.

(c) in support of claims for damage to property which is not economically repairable, or if
the property is lost or destroyed, the claimant should submit stutemenis as to the original
cost of the property, the date of purchase, and the value of tie property, beth before and
after the accident. Such statements should be by disinterested competent persans,
preferably reputable dealers ar oftclals familar with the type of properly damaged, or by
two or more compelilive bidders, and should be certified as being just and correct,

{d) Fallure to specify a sum certain Will render your clalm invalid and may result in
forfeiture of your fights.

 

This Notice is provided in accordance with the Privacy Act, 5 U.S.C, 552a(e\(3), and
concerns thé information requested in the fetter to which this Nolice is attached.
AL Authority: The requested Infomnation is solicited pursuant to one or more of the
following: 5 U.S.C. 301, 2B U.S.C. 561 at seq., 28 U.S.C. 2671 et seq. 28 C.F.R.
Part 14,

 

PRIVACY ACT NOTICE

8B. Principal Purpose; The information requested is to be used in evaluating claims,

G. Rouliné Use: See the Notices of Systams of Records for the agency to whom you ate
submitting this farm fer this information,

D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
requested information or ia execute the form may render your dain “invalid.”

 

 

form(s} to these addresses.

PAPERWORK REDUCTION ACT NOTICE

This notice is golsly for the purpose of the Papenvork Reduction Act, 44 U.S.C. 3601. Public reporting burden for this collection of information is estimated to average 6 hours per
fasponse, including the time for seviewing instructions, searching existing data sources, gathering and maintaining the data neaded, and corapleting and reviewing the collection of
infomation, Send comments regarding this burden estimate or any other aspect of this collectian of information. including suggestians for reducing this burden, to the Director, Torts
Branch, Attentlon: Paperwork Reduction Staff, Civi Division, U.S. Depariment of Justice, Washington, DC 20536 or to the Office of Management and Budget. Deo not rail completed

 

STANDARD FORM 95 REV. (2/2007) BACK

 
